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 (West 2024) unconstitutional as to the inclusion of the "Colt AR-15" (the "AR-15

 Provision") (ECF No. 174) 1 is GRANTED;

       2.     ORDERED that the Motion for Summary Judgment by Plaintiffs

 Blake Ellman, Thomas Rogers, and the Association of New Jersey Rifle & Pistol

 Clubs, Inc. to the extent it seeks summary judgment in their favor declaring N.J. Stat.

 Ann. § 2C:39-l(w)(l) (West 2024) unconstitutional as to the inclusion of the "Colt

 AR-15" (the "AR-15 Provision") (ECF No. 175) is GRANTED;

       3.     ORDERED that the Motion for Summary Judgment by Plaintiffs

 Association of New Jersey Rifle & Pistol Clubs, Inc, Blake Ellman, and Marc

 Weinberg to the extent it seeks summary judgment in their favor declaring N.J. Stat.

 Ann. §§ 2C:39-l(y), 2C:39-3(i) (West 2024); N.J. Stat. Ann. § 2C:39-20(a) (West

 2024) (the "LCM Amendment") to be unconstitutional (ECF No. 175) is DENIED;

       4.     ORDERED that State Defendants' Cross-Motion for Summary

 Judgment to the extent it seeks summary judgment declaring N.J. Stat. Ann.§ 2C:39-

 1 (w)(l) (West 2024) as to the inclusion of the "Colt AR-15"             (the "AR-15

 Provision") constitutional (ECF No. 183) is DENIED;

       5.     ORDERED that State Defendants' Cross-Motion for Summary

 Judgment to the extent it seeks summary judgment declaring N.J. Stat. Ann. §§


 1
   All parenthetical ECF citations are to documents filed under Civil No. 18-10507,
 unless indicated otherwise.

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 2C:39-l(y), 2C:39-3G) (West 2024); N.J. Stat. Ann.§ 2C:39-20(a) (West 2024) (the

 "LCM Amendment") to be constitutional (ECF No. 183) is GRANTED;

        6.    ORDERED that Defendant Kenneth J. Brown, Jr. 's separate motion to

 dismiss the claims asserted against him (Case No. 22-cv-04397, ECF No. 50) is

 DENIED AS MOOT;

       7.     ORDERED that Plaintiffs' Motion to Preclude the Expert Testimony

 of State Defendants' Expetis (ECF No. 176) is DENIED;

       8.     ORDERED that State Defendants' Motion to Preclude the Expert

 Testimony of Plaintiffs' Experts Emanuel Kapelsohn and Clayton Cramer (ECF No.

 182) is DENIED;

       9.     ADJUDGED that judgment is entered declaring N.J. Stat. Ann. §

 2C:39-l(w)(l)(West 2024) as to the inclusion of the "Colt AR-15" (the "AR-15

 Provision") to be unconstitutional;

       10.    ADJUDGED that judgment is entered declaring N.J. Stat. Ann. §§

 2C:39-l(y), 2C:39-3G) (West 2024); N.J. Stat. Am1. § 2C:39-20(a) (West 2024) (the

 "LCM Amendment") to be constitutional; and

       11.    ORDERED that the effect of this Order and Judgment is sua sponte

 stayed for thi1iy days.


                                                 PETER G. SHERIDAN
                                            UNITED STATES DISTRICT JUDGE


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